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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

  Michael Gonidakis, et al.,                          :
                                                      :       Case No. 2:22-cv-773
                  Plaintiffs,                         :
                                                      :
         v.                                           :       Chief Judge Algenon L. Marbley
                                                      :
  Frank LaRose,                                       :       Circuit Judge Amul R. Thapar
                                                      :
                  Defendant.                          :       Judge Benjamin J. Beaton


   PLAINTIFFS’ SECOND AMENDED MOTION FOR A PRELIMINARY INJUNCTION
                       AND DECLARATORY RELIEF


         Now come Plaintiffs Michael Gonidakis, Mary Parker, Margaret Conditt, Beth Ann

  Vanderkooi, Linda Smith, Delbert Duduit, Thomas W. Kidd Jr., and Ducia Hamm (“Plaintiffs”),

  by and through undersigned counsel, and move this Court for a preliminary injunction pursuant to

  Fed. R. Civ. P. 65(a) and request that this Court enjoin Ohio Secretary of State Frank LaRose, in

  his official capacity, and all persons acting on his behalf or in concert with him, from deviating

  from the Third Plan adopted by the Ohio Redistricting Commission. A Memorandum in Support

  of this Motion is attached.

                                                      Respectfully submitted,

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  I.     STATEMENT OF THE CASE

         Plaintiffs have watched the back-and-forth between the Ohio Redistricting Commission

  and the Ohio Supreme Court for six months. And with no sign that the volleys will end before the

  May 3 primary election, Plaintiffs ask this Court to maintain the Third Plan adopted by the

  Redistricting Commission. This will allow the primary election and the general election to go

  forward, and avoid the election chaos created by Ohio’s failed process and a bifurcated primary.

  See Reynolds v. Sims, 377 U.S. 533, 568, 84 S. Ct. 1362, 12 L. Ed. 2d 506 (1964).

         The Third Plan may not be the “best” plan, but it would secure Plaintiffs’ fundamental

  rights to vote and associate. Moreover, the Third Plan was adopted by elected officials through a

  series of negotiations and policy decisions. These difficult decisions are reflected in the Third Plan,

  and this Court should not stand in the place of the Redistricting Commission and make up its own.

  II.    FACTUAL BACKGROUND

         The Third Plan adopted by the Ohio Redistricting Commission should be implemented

  because without statewide legislative districts, there cannot be a May 3, 2022, primary election.

         A. Ohio’s 2010 legislative district maps and Ohio’s population changes.

         Ohio’s 2010 legislative district maps were created after receipt of the 2010 U.S. Census

  data showing that Ohio had a population of 11,536,504 people. (First Supplemental Complaint

  (“FSC”), ECF No. 86, ¶ 16). The 2020 U.S. Census data showed that much has changed in Ohio

  over the last ten years, including a net gain of more than 250,000 people and double-digit growth

  in several regions. (Id., ¶¶ 28–31). Many political subdivisions such as Franklin, Delaware,

  Warren, and Union Counties grew by double-digits. (Id., ¶ 30). Franklin, Cuyahoga, and Hamilton

  Counties, Ohio’s most populous counties, saw a total shift of more than 200,000 people. (Id., ¶ 31).

  The population of Mr. Gonidakis’ resident city and area grew by double-digit percentage points.

  (Affidavit of Michael Gonidakis (“Gonidakis Aff.”), ECF No. 84-1, ¶ 6, PageID # 1175).

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         B. The Redistricting Commission adopts First Plan and Second Plan, and both are
            rejected by the Ohio Supreme Court.

         The Ohio Redistricting Commission was created in 2015 by an amendment to the Ohio

  Constitution. The Redistricting Commission creates statewide legislative districts using the most

  recent federal census data. The Redistricting Commission met and adopted the First Plan in

  September 2021. (FSC, ECF No. 86, ¶¶ 32–35). It was later sent back to the Redistricting

  Commission by the Ohio Supreme Court in January 2022. See League of Women Voters of Ohio

  v. Ohio Redistricting Comm., 2022-Ohio-65, ¶ 138.

         The Redistricting Commission then met and adopted the Second Plan on January 22, 2022.

  The Second Plan also used the most recent federal census data. (FSC, ECF No. 86, ¶¶ 35–50).

  Still, in February 2022, the Ohio Supreme Court sustained objections relating to the Redistricting

  Commission’s Second Plan. See League of Women Voters of Ohio v. Ohio Redistricting Comm.,

  2022-Ohio-342, ¶ 67.

         C. The Redistricting Commission adopts the Third Plan and Secretary LaRose
            implements it.

         The Redistricting Commission then convened to create a Third Plan, which passed by a 4-

  3 vote. (FSC, ECF No. 86, ¶ 56). The Third Plan accounts for Ohio’s population changes. (Id.,

  Exhibit C, PageID # 1291). Ohio’s population on April 1, 2020, was 11,799,488, meaning the

  target population for each Ohio House district is 119,186. (Id., PageID # 1294). The chart

  accompanying the Third Plan shows that the population of each House District is no more than 5%

  above or below the target population. The same is true for each Ohio Senate District. (Id., PageID

  # 1294).

         Because the Third Plan satisfied the requirements of the U.S. Constitution and the Ohio

  Constitution, and anticipating no more delay, Secretary of State LaRose began implementing the



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  Third Plan shortly after it was adopted. (Affidavit of Amanda Grandjean (“Grandjean Aff.”), ECF

  No. 88-1, ¶ 15, PageID # 1322).

         D. The Third Plan speeds forward.

         The Secretary LaRose ordered the county boards of elections to move forward with the

  Third Plan on February 26, 2022. (See Directive 2022-30, ECF No. 88-1, PageID # 1315). The

  local county boards began carrying out the Third Plan. (Grandjean Aff., ECF No. 88-1, ¶ 15,

  PageID # 1322). Boards of elections started reprogramming voter registration and tabulating

  systems. (See Directive 2022-30, ECF No. 88-1, PageID # 1315).

         The Secretary of State’s order was reasonable because the Third Plan creates competitive

  elections in compact districts despite the geographic challenges of the Democratic Party. Dr.

  Michael Barber is a political science professor with a Ph.D. from Princeton University’s

  Department of Politics. (Affidavit of Dr. Michael Barber (“Dr. Barber Aff.”), ECF No. 84-1,

  PageID # 1202). He has served as an expert in several election-related cases (Id., PageID # 1189),

  and he explained that the Third Plan achieves a 54% Republican and 46% Democratic statewide

  proportionality for the Ohio House and the Ohio Senate as considered by the Article XI, Section 6

  of the Ohio Constitution. (Id., PageID # 1190). This was difficult because the Ohio Constitution

  restricts splitting townships and municipalities, and because of the Democratic Party’s success in

  so few political subdivisions, proportionality requires the very splitting the Ohio Constitution

  prohibits.




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  (Affidavit of Sean Trende (“Trende Aff.”), ECF No. 84-1, PageID # 1226).

         Secretary LaRose’s implied certainty that the Third Plan would go forward, had other

  consequences. Mr. Gonidakis began operating under the assumption that the Third Plan would go

  forward. (Gonidakis Aff., ECF No. 84-1, ¶ 9, PageID # 1175). As a result, he started to engage in

  his usual election activity, which has historically included donating to candidates, attending rallies,

  and gathering with like-minded voters. (Id., ¶ 8).

         E. The Third Plan is paused and the risk of election chaos increases.

         On March 16, 2022, nearly three weeks later and after substantial work on the Third Plan,

  the Ohio Supreme Court invalidated it. (Grandjean Aff., ECF No. 88-1, ¶ 19). This caused the

  county boards of elections to pause work implementing the Third Plan. (Id., ¶ 20). This pause did

  not require undoing the work already completed, such as altering ballots already created. (Id.,




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  ¶ 22). The Secretary of State, as of March 23, 2022, remains ready and able to implement the Third

  Plan without disrupting the May 3 primary or creating a bifurcated election. (Id., ¶ 24).

         The Redistricting Commission has since reconvened to consider creating a Fourth Plan.

  III.   STANDARD OF REVIEW

         In determining whether to grant a preliminary injunction, a district court considers four

  factors: (1) whether the movant has a strong likelihood of success on the merits; (2) whether the

  movant would suffer irreparable injury absent the injunction; (3) whether the injunction would

  cause substantial harm to others; and (4) whether the public interest would be served by the

  issuance of an injunction. Daunt v. Benson, 956 F.3d 396, 406 (6th Cir. 2020); see also Bays v.

  City of Fairborn, 668 F.3d 814, 818-19 (6th Cir. 2012). These factors “are not prerequisites, but

  rather are factors which the Court should balance.” Golden v. Kelsey-Hayes Co., 73 F.3d 648, 653

  (6th Cir. 1996). These four factors are met here because Plaintiffs’ fundamental rights risk being

  denied, and there is no harm in securing the right to vote or associate.

  IV.    LAW AND ARGUMENT

         Because Plaintiffs’ constitutional right to vote will be violated without the Third Plan and

  the four preliminary injunction factors favor Plaintiffs, this Court should issue an injunction and

  order other appropriate relief necessary to continue the implementation of the Third Plan.

         A. Plaintiffs are likely to succeed on the merits because their right to vote and right
            to associate risk denial.

         Without the Third Plan, Plaintiffs’ right to vote will be violated, so Plaintiffs are likely to

  succeed on the merits.

                 1. Without the Third Plan, no state legislative districts exist so Plaintiffs
                    cannot vote in violation of the U.S. Constitution.

         Should Secretary LaRose cease implementing the Third Plan, then there would be no

  legislative districts, in violation of the U.S. Constitution. The right to vote is a fundamental right,

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  and the Equal Protection Clause and the Substantive Due Process Clause prohibit blanket

  disenfranchisement. George v. Hargett, 879 F.3d 711, 727 (6th Cir. 2018) (citing Warf v. Bd. of

  Elections of Green Cty., 619 F.3d 553, 559 (6th Cir. 2010)); see also, League of Women Voters v.

  Brunner, 548 F.3d 463, 478 (6th Cir. 2008). In these instances, “federal court intervention may be

  appropriate” to avoid an unfair election. Brunner, 548 F.3d at 478 (citing Griffin v. Burns, 570

  F.2d 1065, 1078-79 (1st Cir. 1971)).

         Here, this Court should maintain the Third Plan or Plaintiffs will be without legislative

  districts to vote. (See Gonidakis Aff., ECF No. 84-1, ¶¶ 6–17). Secretary of State LaRose began

  moving forward with the Third Plan in February shortly after it was adopted. (See Directive 2022-

  30, ECF No. 88-1, PageID # 1315). This included directing the local boards of elections to begin

  implementation. (Grandjean Aff., ECF No. 88-1, ¶ 15, PageID # 1322). Should this work be

  undone, Plaintiffs would not have districts to vote in or candidates to vote for: Plaintiffs’ voting

  power would be diluted to zero. This sort of blanket disenfranchisement would violate the U.S.

  Constitution.

         Because blanket disenfranchisement violates the U.S. Constitution, Plaintiffs are likely to

  succeed on the merits.

                  2. Alternatively, the state legislative districts are based on the 2010 census, so
                     they are now malapportioned in violation of the U.S. Constitution.

         The Third Plan should also be maintained because using the old legislative districts is not

  an option. See Evenwel v. Abbott, 578 U.S. 54, 59, 136 S. Ct. 1120, 1124 (2016). As the U.S.

  Supreme Court recently explained, when drawing state legislative districts, the maximum

  population deviation between the largest and smallest districts is 10%. Id. (citing Brown v.

  Thomson, 462 U.S. 835, 842-843, 103 S. Ct. 2690, 77 L. Ed. 2d 214 (1983)). In fact, “[m]aximum

  deviations above 10% are presumptively impermissible.” Id. Such deviations violate the Equal


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   Protection Clause of the U.S. Constitution. Id. (citing Reynolds v. Sims, 377 U.S. 533, 568, 84 S.

   Ct. 1362, 12 L. Ed. 2d 506 (1964)); see also, Kopald v. Carr, 343 F. Supp. 51, 52 (M.D. Tenn.

   1972).

            Here, the population in Plaintiffs’ state legislative districts are more than 10% above the

   least populous state legislative districts, in violation of the Equal Protection Clause, so this Court

   should adopt the Third Plan. Plaintiffs’ house and senate districts are based on the 2010 decennial

   census. (See FSC., ECF No. 86, ¶¶ 69–72). Mr. Gonidakis, Ms. Vanderkooi, and Ms. Smith live

   in Franklin County, which has gained more than 150,000 people since the last census, and their

   respective cities have experienced more than 10% in population gains. (Id.). Mr. Gonidakis lives

   in Dublin, Ohio, which has grown in population by more than 20%, so his legislative districts are

   malapportioned. (Gonidakis Aff., ECF No. 84-1, ¶ 6).

            Because Ohio’s population has changed, so too has the population in the state legislative

   districts. Double-digit growth in some areas and population losses in others means that the state

   legislative districts cannot be within 5% of the target population for a state legislative district. (See

   id.; FSC, ECF No. 86, ¶¶ 70–72). As a result, Plaintiffs’ districts, including House Districts 18,

   19, 21, 52, 62, 68, 70, and 90 and Senate Districts 3, 4, 7, 14, 15, 16, 19, and 22, dilute their vote

   in violation of the “one-person, one-vote” requirement.

            For these reasons, Plaintiffs are likely to succeed on the merits.

                   3. Plaintiffs cannot freely associate with others in their district in violation of
                      the U.S. Constitution.

            This Court should maintain the Third Plan so Plaintiffs may freely associate. “The rights

   of political association and free speech occupy a similarly hallowed place in the constitutional

   pantheon.” Graveline v. Benson, 992 F.3d 524, 535 (6th Cir. 2021) (citation omitted). The “right

   to associate with the political party of one’s choice is an integral part of the basic constitutional


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   freedom.” Mich. State A. Philip Randolph Inst. v. Johnson, 749 F. App’x 342, 363 (6th Cir. 2018)

   (quoting Kusper v. Pontikes, 414 U.S. 51, 57, 94 S. Ct. 303, 38 L. Ed. 2d 260 (1973)). Though the

   right to politically associate is not absolute, a severe restriction must be narrowly drawn to advance

   a state interest of compelling importance. Kishore v. Whitmer, 972 F.3d 745, 749 (6th Cir. 2020)

   (citation omitted).

           Here, should this Court allow the Third Plan to lapse, Plaintiffs cannot associate with

   members of their state legislative districts in violation of the U.S. Constitution. Mr. Gonidakis, for

   example, has historically learned about his candidates, supported candidates, and associated with

   like-minded voters. (Gonidakis Aff., ECF No. 84-1, ¶ 7). He has started to do so under the Third

   Plan. (Id., ¶ 9). Should this Court allow the Third Plan to be undone, then Mr. Gonidakis’ work

   will be undone, too. (Id.). Moreover, he will be unable to associate with those in his state legislative

   districts because none will exist.

           The absolute restriction on Plaintiffs’ right to associate has no state interest of compelling

   importance. There is no state interest in completely disenfranchising voters. There is also no state

   interest in a six-month back-and-forth between the Redistricting Commission and the Ohio

   Supreme Court that yields no state legislative districts.       As a result, Plaintiffs’ denial of the

   freedom to associate is a separate and independent violation of the U.S. Constitution in addition to

   any disenfranchisement potentially caused by eliminating the Third Plan, and Plaintiffs are likely

   to succeed on the merits of this claim.

                   4. Without the Third Plan, Plaintiffs’ voting rights risk arbitrary denial.

           This Court should maintain the Third Plan because the Ohio Supreme Court’s evolving

   standards violate the U.S. Constitution. The Due Process Clause of the Fourteenth Amendment

   states that no State shall “deprive any person of life, liberty, or property, without due process of

   law[.]” U.S. Const. Amend XIV, § 1. It “imposes on the States the standards necessary to ensure
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   that judicial proceedings are fundamentally fair,” Lassiter v. Dep’t of Soc. Servs., 452 U.S. 18, 33

   (1981), requiring that litigants receive “notice and opportunity for hearing appropriate to the nature

   of the case,” Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 313 (1950) (emphasis

   added). This procedural fairness requirement applies to state courts. See Reich, 513 U.S. at 110–

   14; Bouie v. City of Columbia, 378 U.S. 347, 354–55 (1964); Saunders, v. Shaw, 244 U.S. 317,

   319–20 (1917).

          The U.S. Supreme Court has repeatedly recognized that a state supreme court cannot give

   “retroactive effect” to an “unforeseeable” decision, if the application of that decision would deny

   “a litigant a [fair] hearing.” Bouie, 378 U.S. at 354–55; Reich, 513 U.S. at 110–14; Saunders, 244

   U.S. at 319–20. In Saunders, a defendant won a judgment in a state trial court after that court

   concluded that the plaintiff’s factual claim “was not open to the plaintiff” under then-existing law.

   244 U.S. at 319–20. The state supreme court reversed, resting its opinion on a case decided after

   the trial court’s judgment, thus making the plaintiff’s factual claim legally available to him. But

   what the state supreme court did not do was remand the action to the trial court to afford the

   defendant “the proper opportunity to present his evidence” on that now-relevant factual claim. Id.

   at 319. Unsurprisingly, the Supreme Court of the United States reversed, holding that it is “contrary

   to the 14th Amendment” for a state supreme court to reverse the favorable judgment obtained by

   a defendant based on the application of a new judicial decision without also remanding to give the

   defendant “a chance to put his evidence in” to respond to that new decision—at least where the

   defendant never “had the proper opportunity to present his evidence” before. Id.

          Similarly, in Reich, a plaintiff sought a tax refund for retirement payments paid by the

   federal government after his military service. 513 U.S. at 108. The Supreme Court of the United

   States had declared state laws that exempted from taxation retirement benefits paid by the State,



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   but not by the federal government unconstitutional, and Georgia repealed its version of that statute.

   Id. The plaintiff sued to recoup those taxes paid on his federal benefits under that repealed statute,

   but the Georgia Supreme Court first opined that its “refund statute [did] not [] apply to the situation

   where the law under which the taxes are assessed and collected is itself subsequently declared to

   be unconstitutional or otherwise invalid.” Id. at 109 (citation omitted).

          The U.S. Supreme Court remanded for reconsideration in light of an intervening decision

   in Harper v. Virginia Department of Taxation, 509 U.S. 86 (1993). Instead of considering the

   intervening opinion, the Georgia Supreme Court denied the plaintiff’s tax-refund request by

   claiming, for the first time, that its own predeprivation state-law remedies sufficed to remedy any

   Due Process Clause violation, even though previously the State also offered postdeprivation

   remedies. Reich, 513 U.S. at 110. This was an entirely different explanation than the Georgia court

   offered in its first opinion. On appeal, the U.S. Supreme Court explained that this was exactly

   “what a State may not do . . . reconfigur[ing] its scheme, unfairly, in midcourse—to ‘bait and

   switch’” the plaintiff. Id. at 111. The Georgia Supreme Court’s reliance on predeprivation

   procedures, this Court held, “was entirely beside the point” because “no reasonable taxpayer would

   have thought that they represented . . . the exclusive remedy for unlawful taxes.” Id. (emphasis

   omitted).

          This Court should maintain the Third Plan because the Plaintiffs’ voting rights could be

   arbitrarily denied. In its decision invalidating the original legislative plan, the Ohio Supreme Court

   held that the plan was unconstitutional for failing to “closely correspond” to the Ohio statewide

   voter preference of 54% Republican to 46% Democrat. League of Women Voters of Ohio v. Ohio

   Redistricting Comm., Slip Opinion No. 2022-Ohio-65, ¶ 88. In response, the Redistricting

   Commission enacted the first remedial plan with the goal of closely corresponding to the 54-46



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   ratio. See League of Women Voters of Ohio v. Ohio Redistricting Comm., Slip Opinion No. 2022-

   Ohio-342, ¶ 97 (Kennedy and DeWine, JJ., dissenting). The Court shortly thereafter invalidated

   the first remedial plan; apparently “closely correspond” meant “exactly.” League of Women Voters

   of Ohio v. Ohio Redistricting Comm., Slip Opinion No. 2022-Ohio-342, ¶¶ 63–64. Now required

   to draw an exact 54-46 plan, the Redistricting Commission again met the Ohio Supreme Court’s

   new criteria and enacted a second revised plan with five more democratic leaning state House

   districts and two more democratic leaning state Senate districts, representing a perfect statewide

   proportionality of 54% to 46%. League of Women Voters of Ohio v. Ohio Redistricting Comm.,

   Slip Opinion No. 2022-Ohio-789, ¶ 84 (Kennedy and DeWine, JJ., dissenting). Yet again, the

   Court invalidated the plan after arbitrarily creating a new formula that assessed individual districts,

   instead of the plan as a whole. Id. at ¶ 85.

          The Ohio Supreme Court’s untenable one-upmanship is also seen in its shifting definition

   of a competitive district. In LWV I, the Court merely required the first remedial map to meet the

   54-46 “statewide proportion of Republican-leaning districts to Democratic-leaning districts.”

   League of Women Voters of Ohio v. Ohio Redistricting Comm., Slip Opinion No. 2022-Ohio-65,

   ¶ 86. When the Redistricting Commission met this standard in the Second Plan, the Court cried

   foul and for the first time held that labeling 50-51% Democratic-leaning districts as competitive

   was “absurd on its face.” League of Women Voters of Ohio v. Ohio Redistricting Comm., Slip

   Opinion No. 2022-Ohio-342, at ¶ 61. The Redistricting Commission then enacted the Third Plan

   that “reduced from 12 to five the number of seats favoring Democrats by less than 51 percent.”

   League of Women Voters of Ohio v. Ohio Redistricting Comm., Slip Opinion No. 2022-Ohio-789,

   ¶ 87 (Kennedy and DeWine, JJ., dissenting). Yet again, the Court invalidated the plan after

   arbitrarily deciding that “even districts in which Democrats have a 2 percent advantage do not



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   count as districts that ‘“favor” [the Democratic] party.’” Id. at ¶ 88 (citing majority opinion at ¶

   41).

          The Ohio Supreme Court’s three decisions further conflict in their analysis of expert reports

   and statistical measures by creating, then ignoring, benchmarks for what might be constitutional.

   Id. at ¶¶ 94–102. The end result sought by the Ohio Supreme Court is unknown to all. But the

   current result is “electoral chaos for Ohioans,” id. at ¶ 59, created at the expense of Plaintiffs’ Due

   Process rights.

          For these reasons, Plaintiffs are likely to succeed on the merits of their claims.

          B. The Third Plan avoids Plaintiffs’ irreparable harm—denial of the rights to vote
             and associate.

          Implementing the Third Plan secures Plaintiffs’ right to vote and associate in the May 3,

   2022, primary election. When constitutional rights are threatened or impaired, irreparable injury

   is presumed. See ACLU of Ky. v. McCreary County, Ky., 354 F.3d 438, 445 (6th Cir. 2003). The

   right to vote and the right to associate are constitutional rights. Reynolds v. Sims, 377 U.S. 533,

   554-555, (1964). A restriction of the fundamental right to vote and associate thus constitutes

   irreparable injury. Obama for Am. v. Husted, 697 F.3d 423, 436 (2012) (citation omitted); see also

   Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986).

          This Court should grant Plaintiffs’ motion for a preliminary injunction and order the

   continued implementation of the Third Plan to avoid Plaintiffs’ irreparable injury. Without the

   Third Plan, Plaintiffs cannot vote (or would vote in old districts) and cannot associate with

   candidates and like-minded voters. These deprivations violate the U.S. Constitution. As a result,

   without the Third Plan, there is an assumption that Plaintiffs will suffer irreparable harm

   appropriate for injunctive relief.




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          The Third Plan is important because additional time will not produce a Fourth Plan. The

   process of adopting a new plan using the Redistricting Commission started six months ago. Since

   then, there have been three plans adopted by the Redistricting Commission and three plans rejected

   by the Ohio Supreme Court. While the Redistricting Commission may be considering a Fourth

   Plan, there is no indication this back-and-forth will yield a Fourth Plan. Moreover, the opposing

   parties have objected to the plans with the Ohio Supreme Court, and will likely do so again even

   if a Fourth Plan is adopted, returning the issue to the Ohio Supreme Court. Past events show that

   more time is not the solution.

          Beyond the uncertainty of a nonexistent Fourth Plan, the General Assembly controls the

   primary date. The General Assembly is not required to move the primary date or alter the primary

   schedule to create two primaries—one for non-statewide legislative elections and another special

   primary for statewide legislative elections. Likewise, the Ohio Supreme Court lacks the ability to

   modify the May 3, 2022, primary election date on its own. It also cannot adopt its own legislative

   districting plan. See Ohio Constitution, Article XI, Section 9(D). Only maintaining the Third Plan

   keeps Ohio on track for one primary on May 3, 2022.

          For all these reasons, Plaintiffs will suffer an irreparable injury without the adoption of the

   Third Plan by this Court, and the Third Plan, based on the ongoing failure of Ohio’s process, is the

   only solution.

          C. Maintaining the Third Plan will benefit Third Parties.

          Plaintiffs are not the only Ohio voters disenfranchised by the failure of Ohio’s redistricting

   process. Over 100,000 Ohioans live in each of the now malapportioned 2010 state legislative

   districts where Plaintiffs live. (ECF No. 86-1, FSC, Exhibit C, PAGEID# 1294). To the extent

   those districts are still in effect, hundreds of thousands of Ohio voters are disenfranchised by

   malapportioned districts. To the extent no state legislative districts are in effect, all Ohio voters
                                                    16
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   are disenfranchised, lacking any opportunity to vote for state legislators with an election just weeks

   away. Thus, a preliminary injunction will further the interests of all Ohio voters, not just Plaintiffs.

           D. Maintaining the Third Plan will serve the public interest by protecting
              constitutional rights, reducing confusion, and conserving public funds.

           Granting Plaintiffs’ motion for a preliminary injunction will also serve the public interest

   by protecting the constitutional voting rights of Ohio citizens, preventing further electoral chaos

   and confusion, and avoiding the waste of millions of dollars of public funds.

           First, maintaining the Third Plan serves the public interest by protecting voting rights. As

   the Sixth Circuit has recognized, “it is always in the public interest to prevent the violation of a

   party’s constitutional rights.” G & V Lounge v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079

   (6th Cir. 1994). Although states have “a strong interest in their ability to enforce state election law

   requirements . . . members of the public, however, ‘have a strong interest in exercising the

   fundamental political right to vote.’” Hunter v. Hamilton Cnty. Bd. of Elections, 635 F.3d 219, 244

   (6th Cir. 2011), quoting Purcell v. Gonzalez, 549 U.S. 1, 4 (2006). “That interest is best served by

   favoring enfranchisement and ensuring that qualified voters’ exercise of their right to vote is

   successful.” Hunter, 635 F.3d at 244. Accordingly, maintaining the Third Plan will serve the public

   interest by ensuring that Ohio voters live in established and properly apportioned districts before

   the primary election. By requiring the implementation of a Third Plan that is properly apportioned

   based on Ohio’s current population, the Court will ensure the protection of Ohio voters right to

   vote and associate. These rights will be lost if the May 3 primary comes to pass with

   malapportioned or nonexistent state legislative districts—issues solved by maintaining the Third

   Plan.

           Second, maintaining the Third Plan avoids confusion. This Court recognized the public’s

   interest in avoiding such voter confusion. League of Women Voters v. LaRose, No. 2:20-cv-1638,


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   2020 U.S. Dist. LEXIS 91631, at *31 (S.D. Ohio April 3, 2020) (Watson, J.) (“[B]ecause further

   changes to the election procedure could cause significant additional voter confusion, the Court

   finds that the public interest factor weighs against [an injunction].”). Ohio’s failed redistricting

   process has proven to be a breeding ground for confusion. The Redistricting Commission has

   adopted three different plans. Over six months of litigation, the Ohio Supreme Court has rejected

   each plan. Voters do not know what state legislative districts they live in or who their candidates

   will be. It is in the public interest for this Court to end this endless cycle of confusion by ordering

   Secretary LaRose to continue implementing the Third Plan, especially considering the risk of

   bifurcated primary election.

          Finally, maintaining the Third Plan will also serve the public interest by saving tens of

   millions of dollars of public funds. When weighing the impact of a proposed injunction on the

   public interest, federal courts have frequently considered the effect of an injunction on the

   expenditure of public funds. Coalition of Mich. Nursing Homes v. Dempsey, 537 F. Supp. 451, 465

   (E.D. Mich. 1982) (“the public at large has an interest in the conservation of the state treasury”);

   Welch v. Brown, 551 Fed. Appx. 804, 814 (6th Cir. 2014) (considering whether an injunction

   would affect public safety budget); Lapeer Cnty. Medical Care Facility v. Michigan, 765 F. Supp.

   1291, 1301 (W.D. Mich. 1991) (considering the impact of a proposed injunction on the state

   budget); Crawley v. Ahmed, No. 08-14040, 2009 U.S. Dist. LEXIS 40794, at *85 (E.D. Mich. May

   14, 2009) (“the problem of additional expense [to the state] must be kept in mind”).

          The Ohio General Assembly has already expended over $9 million to implement the Third

   Plan for the May 3 primary.1 Secretary LaRose has publicly stated that moving the state legislative




   1
    Haley BeMiller, Secretary of State Frank Larose Says Legislative Races Won’t Make May 3rd
   Primary,         COLUMBUS             DISPATCH,          March           17,        2022,
                                                     18
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   primaries to a later date may cost an additional $20 million – $25 million.2 Considering the

   continuing failure of the state redistricting process since September 2021, it is, at best, speculative

   that Ohio will have new districts even with such a delay. By granting Plaintiffs’ preliminary

   injunction, the Court can eliminate such wasteful expenditures while also finally putting an end to

   voter confusion and protecting Ohioans’ constitutional voting rights. It is unquestionably in the

   public interest to do so.

             E. This Court has the power to implement the Third Plan.

             This Court may order the Third Plan even though it was rejected by the Ohio Supreme

   Court. State court decisions and state constitutions must yield to the U.S. Constitution. The whole

   purpose of 42 U.S.C. § 1983 is to protect people from unconstitutional action under the color of

   state law “whether that action be executive, legislative, or judicial.” Mitchum v. Foster, 407 U.S.

   225, 242, 92 S. Ct. 2151, 2162 (1972) (citation omitted). For example, it is 42 U.S.C. § 1983 that

   allowed the U.S. Supreme Court to overcome the Alabama Constitution to protect voting rights

   under the Equal Protection Clause. Reynolds v. Sims, 377 U.S. 533, 537, 84 S. Ct. 1362, 1369

   (1964). Indeed, the “purpose of § 1983 was to interpose the federal courts between the States and

   the people . . . .” Mitchum, 407 U.S. at 242.

             Because the right to vote is so fundamental, district courts may adopt a map to fix a

   constitutional violation. See Rucho v. Common Cause, 139 S. Ct. 2484, 2495 (2019). “[T]here is a

   role for the courts” to resolve one-person, one-vote and other violations. Id. (citations omitted);

   see, e.g., Kopald v. Carr, 343 F. Supp. 51, 52 (M.D. Tenn. 1972). In Kopald, multiple plans were

   proposed by the legislative authority, including one with a population variance of 21%. Id. In


   www.dispatch.com/story/news/2022/03/17/ohio-redistricting-what-court-decision-means-may-3-
   primary/7073394001/.
   2
       Id.
                                                     19
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   response, the court adopted a modified plan that reduced the variance to 4% and maintained

   jurisdiction for one election cycle. Id. at 54 (citing Ely v. Klahr, 403 U.S. 108, 91 S. Ct. 1803, 29

   L. Ed. 2d 352 (1971)); see also McConchie v. Scholz, No. 21-cv-3091, 2021 U.S. Dist. LEXIS

   201160, at *67 (N.D. Ill. Oct. 19, 2021) (ordering submission of proposed map to be considered

   by the court following Equal Protection Clause violation). But importantly, the “Constitution does

   not require the best plan, just a lawful one.” League of Women Voters v. LaRose, No. 2:20-cv-

   1638, 2020 U.S. Dist. LEXIS 91631, at *32 (S.D. Ohio Apr. 3, 2020)

          Here, this Court should maintain the Third Plan, which may not be the “best” plan but is a

   lawful one under the U.S. Constitution. This makes it an appropriate plan for this Court to adopt.

          This Court should maintain the implementation of the Third Plan rather than draw its own

   plan, even though the Third Plan was rejected by the Ohio Supreme Court. First, Secretary LaRose

   has already started implementing the Third Plan. A new plan drawn by this Court would require

   significant state resources to carry out, assuming the state even had time do so. Second, the

   Redistricting Commission is made up of seven elected officials who, unlike federal judges, can be

   held accountable by voters. Third, these elected officials made difficult policy decisions based on

   the inherent geographic challenges of a Democratic voter-base that coalesces inside just a few

   political subdivisions. These policy decisions are best left to elected officials rather than federal

   judges. For theses reasons, this Court should adopt the Third Plan over a federal-created plan.3

          Assuming this Court adopts a plan previously approved by Ohio’s elected officials, this

   Court should adopt the Third Plan rather than the First Plan and the Second Plan. As the

   Redistricting Commission moved through various plans, it has increasingly approached a plan that




   3
    In the alternative, should this Court not adopt the Third Plan, then it would need to move the
   current statutory election deadlines, which would be disruptive.
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   could be found to be acceptable by the Ohio Supreme Court. (See Dr. Barber Report, ECF No. 84-

   1, PageID # 1187). While the goal posts have been continuously moved, the end result is that the

   Third Plan provides more representative districts than the First Plan or the Second Plan, more

   closely aligning with the policy aims articulated by the Ohio Supreme Court. This progress shows

   that the Third Plan, while not preferred by Plaintiffs, is a more appropriate remedy than the other

   plans adopted by the Redistricting Commission. There is also no time now to implement the First

   Plan or the Second Plan.

          For these reasons, this Court should maintain the implementation of the Third Plan rather

   than stand in the shoes of the duly elected members of the Redistricting Commission and attempt

   to draw its own.

   V.     CONCLUSION

          For all these reasons, Plaintiffs respectfully request that this Court require that Secretary of

   State Frank LaRose maintain the Third Plan to carry out the 2022 primary and general election.

                                                          Respectfully submitted,

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                                                          Vanderkooi, Linda Smith, Delbert Duduit,
                                                          Thomas W. Kidd, Jr., and Ducia Hamm




                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 23, 2022, a copy of the foregoing was filed electronically.

   Notice of this filing will be sent to all parties by operation of the Court's electronic filing system.

   Parties may access this filing through the Court’s system.




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